Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 1 of 39 Page|D #:56927

06/12/15
United States District Court
Northern District of Illinois

Notitication ofParty Contact Information

Directions: This form must be attached to a motion to Withdraw from a case When no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to Withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to Withdraw is granted

Case Number: l:l§-cv-5153
CaSe Title: Alexander v. Abeie, lnc., et al

Judgef Honorable Matthew F. Kennell

Name of Attorney submitting the motion to Withdraw:
BRIAN J. PERKINS

Name of Client:

Frederick Alexander

Mailing address Of Client: 2815 Dogwood Kelly Road

City: Hopkinsville State: KY

Zip: 42240 Telephone Number: 270-269-2584

I attest that the above information is true and correct to the best of my

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Signed: ]()/

J f
Date: 10/26/2017

 
 

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 2 of 39 Page|D #:56928

06/12/15
United States District Court

Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to WithdraW from a case When no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to Withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to Withdraw is granted

Case Number: 1:15-cv-4200
Case Title: Amobi v. Eli Lilly & Company, et al

Jlldge; Honorable Matthew F. Kennell

Name of Attorney submitting the motion to Withdraw:

BRIAN J. PERKINS

Name of Client:
Austin Amobi

Mailing address of Client: 374 Village Breen Drive
City: Nashville State: TN

Zip: 37217 Telephone Number: 615-506-5643

I attest that the above information is true and correct to the best of my

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Signed: /' ' /{ v
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Date: lO/;MZOU

   

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Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 3 of 39 Page|D #:56929

06/12/15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to Withdraw from a case When no other
attorney of record has been noted on the docket. A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to Withdraw is granted

Case Number: 1:16~cv-836
Case Title: Barnes v. Abeie, lnc., et al

Judge; Honorable Matthew F. Kennell

Name of Attorney submitting the motion to Withdraw:
BRIAN J. PERKINS

Name of Client:

Edward Barnes

Mailing address of Client: 6065 Autumn View Trail
City: Acworth State: GA

Zip: 30101 Telephone Number: 949-636-1781

I attest that the above information is true and correct to the best of my

know

 

Signed:

 

Date: 10/26/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 4 of 39 Page|D #:56930

06/12/15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to Withdraw from a case When no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to Withdraw is granted

Case Number: 1:16-cv-607
CaSe Title: Constante V. Abeie, lnc., et al

Judge: Honorable Matthew F. Kennell

Name of Attorney submitting the motion to Withdraw:

BRIAN J. PERKINS

Name of Client:

Joseph Constante

Mailing address of Client: 231 E Caesar Avenue
City: Kingsville State: TX

Zip: 78363 Telephone Number: 361-720-1048

I attest that the above information is true and correct to the best of my

know /_ l,
Signed: //ZWA%LG~
Date: IO/ég/Zt)Vl; / /

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 5 of 39 Page|D #:56931

06/12/15
United States District Court
Northern District of lllinois

Notiflcation of Party Contact Information

Directions: This form must be attached to a motion to Withdraw from a case When no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to Withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to Withdraw is granted

Case Number: l:l6-cv-6027
CaSe Title; Cross v. Auxilium Pharmaceuticals, lnc., et al

Judge§ Honorable Matthew F. Kennel]

Name of Attorney submitting the motion to Withdraw:
BRIAN J . PERKINS

Name of Client:

Han'ell Cross

Mailing address of Client: 10445 Clarkson Street

City: Northglenn State: CO

Zip: 80233 Telephone Number: 303-452-2755

I attest that the above information is true and correct to the best of my

` 7 jt
Signed: g/!Z”

Date: 10/26/2017

   

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Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 6 of 39 Page|D #:56932

06/12/15
United States District Court
Northern District of Illinois

Notiflcation of Party Contact Information

Dircctions: This form must be attached to a motion to Withdraw from a case When no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the

motion to Withdraw is granted

Case Number: l:l6-cv-272
Case Title: Crouch v. Abeie, lnc., et al

Judgei Honorable Matthew F. Kennell

Name of Attorney submitting the motion to Withdraw:

BRIAN J. PERKINS

Name of Client:

Steven Crouch

Mailing address of Client: 217 N F Street

City: Hamilton State: OH

Zip: 45013 Telephone Number: 513-546-6236

I attest that the above information is true and correct to the best of my

know ge
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Signed: ¢
Date: 10/26/%:/

  

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 7 of 39 Page|D #:56933

06/12/15
United States District Court
Northern District of Illinois

Notif`lcation of Party Contact Information

Directions: This form must be attached to a motion to Withdraw from a case When no other
attorney of record has been noted on the docket. A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to Withdraw is granted

Case Number: 1216-cv-7867
Case Title; Cruz v. Abeie, Inc., et al

Judge: Honorable Matthew F. Kennell

Name of Attorney submitting the motion to WithdraW:
BRIAN J . PERKINS

Name of Client:
Alfredo Cruz

Mailing address of Client: 37 Congress Street, Apt. 9
Cify: Nashua State: NH

Zip: 03062 Telephone Number: 978-390-1412

I attest that the above information is true and correct to the best of my

kn

 

 

Signed:

Date: 10/26/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 8 of 39 Page|D #:56934

06/12/15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case When no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the

motion to withdraw is granted

Case Number: 1:16-cv-645
Case Title: Dunham v. Abeie, lnc., et al

Judge: Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

BRIAN J. PERKINS

Name of Client:
Ralph Dunham

Mailing address of Client: 447 Pinecrest Drive

City: Riverdale State: GA

Zip: 30274 Telephone Number: 770-789-5242

I attest that the above information is true and correct to the best of my

knowled e.

 
 

Slgned: M/(/ L/_. / r‘(/ w \/\/ (/ ‘//
Date: 10/26/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 9 of 39 Page|D #:56935

06/ 12/ 15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to Withdraw from a case When no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:15-cv-11388
Case Title; Eden V. Abeie, lnc., et al

Judge§ Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

BRIAN J. PERKINS

Name of Client:
Steve Eden

Mailing addreSS Of Client: 6708 Charlene Avenue
City: San Diego State! CA

Zip: 92114 Telephone Number: 619-279-7630

l attest that the above information is true and correct to the best of my

 

 

Date: 10/26/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 10 of 39 Page|D #:56936

06/12/15

United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case When no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to Withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Signe

Date:

Case Number: 1:16-cv-685
Case Title: Fagan v. Abeie, lnc., et al

Judge: Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

BRIAN J. PERKINS

Name of Client:

Julian Fagan

Mailing address of Client: 4546 Northwood Avenue

City: Columbus State: GA

Zip: 31907 Telephone Number: 706-888-4500

I attest that the above information is true and correct to the best of my

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10/26/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 11 of 39 Page|D #:56937

06/12/15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to Withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to Withdraw is granted

Case Number: 1:16-cv-6056
Case Title; Fleagle v. Abeie, lnc., et al

Judge: Honorable Matthew F. Kennel]

Name of Attorney submitting the motion to withdraw:

BRIAN\ J . PERKINS

Name of Client:

Roger Fleagle

Mailing address of Client: 15 Woodbrook Drive

City: Mantua State: NJ

Zip: 08051 Telephone Number: 609-970-1985

I attest that the above information is true and correct to the best of my

Signed: // / ’¢/%//4& `

Date: 10/26/2017 /

 

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 12 of 39 Page|D #:56938

06/12/15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:15-cv-11689
Case Title: Fletcher v. Abeie, lnc., et a1

Judge$ Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:
BRIAN J . PERKINS

Name of Client:
Walter Fletcher

Mailing address of Client: 1132 South Elizabeth Street

City: Kokomo State: IN

Zip: 46902 Telephone Number: 765-631-1281

l attest that the above information is true and correct to the best of my

y //

Date`: 10/26/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 13 of 39 Page|D #:56939

06/12/15
United States District Court

Northern District of Illinois

Notif`lcation of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the

motion to withdraw is granted

Case Number: 1:16-cv-282
Case Title; German v. Abeie, lnc., et al

Judgei Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

BRIAN J. PERKINS

Name of Client:

John Gennan

Mailing address of Client: 2811 Haven Place

Cify: Anderson State: IN

Zip: 46011 Telephone Number: 765-644-2609

I attest that the above information is true and correct to the best of my

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Date: 10/26/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 14 of 39 Page|D #:56940

06/12/15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:16-cv-473
CaSe Title; Gonzales v. Abeie, lnc., et al

Judgei Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:
BRIAN J. PERKINS

Name of Client:

Javier Gonzales

Mailing address of Client: 2537 Fulton Drive
City: Corpus Christi State: TX

Zip: 78414 Telephone Number: 361-815-6201

l attest that the above information is true and correct to the best of my

 

 

Signed:

 

Date: 10726’/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 15 of 39 Page|D #:56941

06/12/15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the

motion to withdraw is granted

Case Number: 1:16~cv-408
Case Title: Griffith v. Abeie, lnc., et al

Judge: Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:
BRIAN J. PERKINS

Name of Client:
Randall Griffith

Mailing address of Client: 5574 Notasulga Road

City: Notasulga State: AL

Zip: 36866 Telephone Number: 334-369-8905

I attest that the above information is true and correct to the best of my

kn\o%ge.
Signed: ' f //

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Date: 10/26/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 16 of 39 Page|D #:56942

06/12/15

United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the

motion to withdraw is granted

Case Number: 1:16-cv-824
Case Tifle; Guerra v. Actavis, lnc., et al

Jlldge; Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

BRIAN J. PERKINS

Name of Client:

Juan Guerra

Mailing address of Client: 521 S 6th Avenue
City: Edinburg State: TX

Zip: 78539 Telephone Number: 956-378-0749

I attest that the above information is true and correct to the best of my

Signedg/ MQ//////z/

Date:

10/ 6/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 17 of 39 Page|D #:56943

06/12/15

United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the

motion to withdraw is granted

Case Number: 1:16-cv-159
Case Title: Harris v. Abeie, lnc., et al

Judge: Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

BRIAN J. PERKINS

Name of Client:

l\/lelvin Harris

Mailing address of Client: 5348 Plum Street
City: Richmond State: VA

Zip: 23237 Telephone Number: 804-349-6138

I attest that the above information is true and correct to the best of my

Signed W/!AQ%/%

Date:

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lO/26/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 18 of 39 Page|D #:56944

06/12/ 15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:16-cv-511
CaSe Title: Hornsby v. Auxilium Pharmaceuticals, lnc., et al

Judgei Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:
BRIAN J . PERKINS

Name of Client:

Derrick Hoinsby

Mailing address of Client: 2215 US Highway 331 N
City: Defuniak Springs State: FL

Zip: 32435 Telephone Number: 413-302-2297

I attest that the above information is true and correct to the best of my

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Signed: / \é //, ' r{/%V,v//\//')

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Daté`: 10/26/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 19 of 39 Page|D #:56945

06/12/15
United States District Court

Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:16~cv-974
Case Title; Johnson v. Abeie, lnc., et al

Jlldge; Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

BRIAN J. PERKINS

Name of Client:

l\/Iichael Johnson

Mailing address of Client: 2685 East 61st Street

City: Cleveland State: OH

Zip: 44104 Telephone Number: 216-432-0512

l attest that the above information is true and correct to the best of my

   

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Signed: / /A%y//L

Date: 10/26/2017 /

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 20 of 39 Page|D #:56946

06/12/15

United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the

motion to withdraw is granted

Case Number: 1:16-cv-421
Case Title; Johnson v. Abeie, lnc., et a1

Jlldge; Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:
BRIAN J. PERKINS

Name of Client:

Walter Johnson

Mailing address of Client: PO BOX 181
City: Mount Sterling State: KY

Zip: 40353 Telephone Number: 859-498-1808

I attest that the above information is true and correct to the best of my

Signe:"?W:///%%M

Date:

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10/26/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 21 of 39 Page|D #:56947

06/12/15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:16-cv-75
CaSe Title; Jones v. Abeie, lnc., et al

Jlldgei Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:
BRIAN J . PERKINS

Name of Client:

Columbus J ones

Mailing address of Client: 959 East Boston Avenue

City: Youngstown State: OH

Zip: 44502 Telephone Number: 330-397-8401

I attest that the above information is true and correct to the best of my

no dge.
Signed%M////,@

//(/1/»/
Date: 1 /26/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 22 of 39 Page|D #:56948

06/12/15
United States District Court
Northern District of Illinois

Notif"lcation of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:16-cv-678
Case Title: Kiger v. Abeie, lnc., et al

Judge: Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

Brian J. Perkins

Name of Client:
Jesse Kiger

Mailing address Of Client: 233 Garards Fort Road
City: Garards Fort State: PA

Zip: 15334 Telephone Number: 304-534-0560

I attest that the above information is true and correct to the best of my

Signe:“°W/M///M

Date: 1()/26/ 017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 23 of 39 Page|D #:56949

06/ 12/ 15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:16-cv-7471
Case Title: Konyn v. Endo Pharmaceuticals Inc.

Judgei Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

Brian J. Perkins

Name of Client:
Phil Konyn

Mailing address of Client: 202 Milroy Drive
City: Peterborough State: ON

Zip: K9H7M8 Telephone Number: 705-559-4511

I attest that the above information is true and correct to the best of my

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Date: 10/26/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 24 of 39 Page|D #:56950

06/12/15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:15-cv-11819
Case Title; Lane v. Abeie, Inc., et al

J\ldge; Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

Brian J. Perkins

Name of Client:

Jerry Lane

Mailing address of Client: 3022 White Road
City: Spencer State: IN

Zip: 47460 Telephone Number: 812-876-4680

I attest that the above information is true and correct to the best of my

Signed: . ///<£[,7$@/%{/\`
/`V"/ / /

Date: 10/26/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 25 of 39 Page|D #:56951

06/ 12/ 15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:16-cv-11162
Case Title: Lebaron v. Auxilium Pharmaceuticals, Inc., et al

Jlldgei Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

Brian J. Perkins

Name of Client:
Matthew LeBaron

Mailing address of Client: 431 Maple Avenue
City: Manheim State: PA

Zip: 17545 Telephone Number: 607-438-9481

I attest that the above information is true and correct to the best of my

Signed:

 

 

Date: 10/26/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 26 of 39 Page|D #:56952

06/12/15
United States District Court
Northern District of Illinois

Notiflcation of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:16-cv-670
Case Title: Long v. Abeie, lnc., et al

Judge: Honorable Matthew F. Kennell

Name of Attorney submitting the motion to Withdraw:

Brian J. Perkins

Name of Client:

David Long

Mailing address of Client: 19 Bobwhite Court
City: Amelia State: OH

Zip: 45102 Telephone Number: 513-532-5732

I attest that the above information is true and correct to the best of my

 

Signed:

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Date: 10/26/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 27 of 39 Page|D #:56953

06/12/ 15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:16-cv-344
Case Title: Miller v. Abeie, lnc., et al

Jlldge; Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

Brian J. Perkins

Name of Client:

Homer Miller

Mailing address Of Client: 5178 West State Highway 20, Space 21
City: Upper Lake State: CA

Zip: 95485 Telephone Number: 707-275-8011

I attest that the above information is true and correct to the best of my
knowledge§

  

Signed: //ZZ{ / //7 //&

/ / 'L* b '
Date: 10/26/20\7/W l

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 28 of 39 Page|D #:56954

06/12/15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:16-cv-996
Case Title; Miller v. Endo Pharmaceuticals, lnc.

Jlldge; Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

Brian J. Perkins

Name of Client:
Kevin Miller

Mailing address of Client: 7952 South Phillips, 2nd Floor
City: Chicago State: IL

Zip: 60617 Telephone Number: 872-206-3697

I attest that the above information is true and correct to the best of my

knowledge.%/ . 14 _’
Signed: . V WA;M%////cQ-/
vw /f”

Date: 10/26/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 29 of 39 Page|D #:56955

06/12/15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:16-cv-276
Case Title: Miller v. Abeie, lnc., et al

Jlldge: Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

Brian J. Perkins

Name of Client:
Phillip Miller

Mailing address of Client: 3436 W. Franklin Blvd, Apt. 1B
City: Chicago State: IL

Zip: 60624 Telephone Number: 773-459-6734

I attest that the above information is true and correct to the best of my

knowledge.i " y
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Signed: r

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Date: 10/26/2017"

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 30 of 39 Page|D #:56956

06/ 12/ 15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to Withdraw is granted

Case Number: 1:16-cv-731
Case Title: Nash v. Auxlium Pharmaceuticals, lnc., et al

Jlldgei Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

Brian J. Perkins

Name of Client:

Gary Nash

Mailing address Of Client: 109 Hampshire Lane
City: Crossville State: TN

Zip: 38558 Telephone Number: 813-446-1852

I attest that the above information is true and correct to the best of my

Signed: WL \_ { l v%;é{////&

Date: 10/26/201

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 31 of 39 Page|D #:56957

06/12/ 15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1116-cv-674
Case Title: Parkhurst v. Abeie, lnc., et al

Judgei Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

Brian J. Perkins

Name of Client:
Russell Parkhurst

Mailing address of Client: 1310 Ruhl Garden Court
City: Kokomo State: IN

Zip: 46902 Telephone Number: 765-480-3427

I attest that the above information is true and correct to the best of my

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Signed: "' V ,[%/@"
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Date: 10/26/2017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 32 of 39 Page|D #:56958

06/12/15
United States District Court
Northern District of Illinois

Notif“lcation of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:16-cv-7682
Case Title: Sanders v. Auxlium Pharmaceuticals, lnc., et al

Judge: Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

Brian J. Perkins

Name of Client:

Jerry Sanders

Mailing address of Client: 1176 Sparks Lane

City: Bethel Springs State: TN

Zip: 38315 Telephone Number: 731-645-2332

I attest that the above information is true and correct to the best of my

knowledg .

Signed:

  

Date: 10/26/201

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 33 of 39 Page|D #:56959

06/12/15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
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as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:16-cv-468
Case Title: Shubert v. Abeie, lnc., et al

Judgei Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

Brian J. Perkins

Name of Client:
Scott Shubert

Mailing address of Client: 620 W Munson Street
City: Denison State: TX

Zip: 75020 Telephone Number: 903-422-6237

I attest that the above information is true and correct to the best of my

7“//1//” 7 /

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Date: 10/26/2017`

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 34 of 39 Page|D #:56960

06/12/15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
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as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:16~cv-693
Case Title: Simpson v. Abeie, lnc., et al

Jlldge; Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

Brian J. Perkins

Name of Client:

Herbeit Simpson

Mailing address of Client: 833 NW 23rd, Apt. 1R
City: Moore State: OK

Zip: 73160 Telephone Number: 405-613-5814

I attest that the above information is true and correct to the best of my
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Date: 10/26/2

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 35 of 39 Page|D #:56961

06/12/ 15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:15-cv-11352

Case Title: Snyder v. Auxlium Pharmaceuticals, lnc., et al

Judge: Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

Brian J. Perkins

Name of Client:

Norman Snyder

Mailing address of Client: 8660 W Deeanna Drive
City: Peoria State: AZ

Zip: 853 82 Telephone Number: 602-814-6455

I attest that the above information is true and correct to the best of my

knowledg j '
Signed: %// g j `:U%/%/_IA/
Date: 10/26/21)% / /

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 36 of 39 Page|D #:56962

06/12/15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:15-cv-11687
Case Title: Thompkins v. Abeie, Inc., et al

Jlldge; Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

Brian J. Perkins

Name of Client:

Zeggory Thompkins

Mailing address of Client: 3103 Bentley Lane

City: South Bend State: IN

Zip: 46615 Telephone Number: 574-703-7968

I attest that the above information is true and correct to the best of my

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Date: 10/26%/ 017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 37 of 39 Page|D #:56963

06/ 12/ 15
United States District Court
Northern District of Illinois

Notif"lcation of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
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as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:16-cv-7798
Case Title; Trillizio v. Pfizer, lnc., et al

J\ldge! Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

Brian J. Perkins

Name of Client:

Sontino Trillizio

Mailing address of Client: 4520 Parrnele Road

City: Castle Hayne State: NC

Zip: 28429 Telephone Number: 910-623~5035

I attest that the above information is true and correct to the best of my

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Signed: \ /K_{//jéQ/// 44€/,

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Date: 10/2672017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 38 of 39 Page|D #:56964

06/12/15
United States District Court
Northern District of Illinois

Notification of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
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as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:15-cv-2630
Case Title: Worner v. Abeie, lnc., et al

Jlldge; Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

Brian J. Perkins

Name of Client:

Harold Worner

Mailing address of Client: 2970 Murray Road

City: Taylorsville State: KY

Zip: 40071 Telephone Number: 502-403-8776

I attest that the above information is true and correct to the best of my

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DV / / /

Date: 10/2672017

Case: 1:14-cv-01748 Document #: 2213-1 Filed: 10/25/17 Page 39 of 39 Page|D #:56965

06/12/15
United States District Court
Northern District of Illinois

Notiflcation of Party Contact Information

Directions: This form must be attached to a motion to withdraw from a case when no other
attorney of record has been noted on the docket A completed form must be electronically filed
as an attachment to the motion to withdraw. The address and telephone number of your client
must be completed on this form to enable the Court to contact your client in the future if the
motion to withdraw is granted

Case Number: 1:16-cv-361
Case Titlef Yochum v. Abeie, lnc., et al

Jlldgei Honorable Matthew F. Kennell

Name of Attorney submitting the motion to withdraw:

Brian J. Perkins

Name of Client:

Gerald Yochum

Mailing address of Client: 409 Church Street

City: Taft State: CA

Zip: 93268 Telephone Number: 661-293-0626

I attest that the above information is true and correct to the best of my

signe:nowlY(///AFZ/JZ///ZZ%/{)/

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Date: 10/2672017

